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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM


Honorable Garland E. Burrell, Jr.
Chief United States District Judge
Sacramento, California

                                             RE:     Rajwant Singh VIRK
                                                     Docket Number: 2:03CR00202-07
                                                     RETURN OF PASSPORT

Your Honor:

The releasee is currently being supervised by the probation office in the Eastern District
of Virginia. Following initial sentencing in this matter on November 19, 2004, the releasee's
passport expired and was returned to the U.S. Department of State. Because the releasee
has submitted an application for a new passsport, Court approval is required before this
new passport can be issued. The supervising probation officer is in agreement with this
request. The releasee is in full compliance with his release conditions, and wishes to visit
his family in India. Therefore, it is respectfully recommended the releasee's request for
return of his passport be approved.

                                  Respectfully submitted,

                                       /s/ Richard A. Ertola

                                RICHARD A. ERTOLA
                      Supervising United States Probation Officer

Dated:         October 17, 2007
               Roseville, California
               rae:cd

cc:      Benjamin B. Wagner and S. Robert Tice-Raskin
         Assistant United States Attorney

         Blair D. Howard
         Retained Defense Counsel
         Via fax: (540) 349-4422

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RE:   Rajwant Singh VIRK
      Docket Number: 2:03CR00202-07
      RETURN OF PASSPORT




                                        ORDER

      Upon request of the releasee that his passport be returned to him, and the case
having been concluded, the Court orders that the releasee's request for return of passport
is:


APPROVED: _X____                  DENIED: _____

Dated: October 19, 2007



                                      GARLAND E. BURRELL, JR.
                                      United States District Judge




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